Case 4:24-cv-00338   Document 44-33   Filed on 03/28/25 in TXSD   Page 1 of 6




                     EXHIBIT 31
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                    4:24-cv-00338
                      4:23-cv-01206 Document
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                                                             03/28/25ininTXSD
                                                                          TXSD Page
                                                                                 Page
                                                                                    1 of
                                                                                      2 of
                                                                                         5 6




                                  IN THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION

             PHILLIP PICONE,                                     )( Civil Action No. 4:23-cv-1206
                                                                 )( (Jury Trial)
                                               Plaintiff,        )(
                                                                 )(
             V.                                                  )(
                                                                 )(
             OFFICER ANCIRA, et al.,                             )(
                                                                 )(
                                               Defendants.       )(

                           DECLARATION OF PLAINTIFF PHILLIP PICONE
                    1.     My name is Phillip Picone and I am over 21 years old.
                    2.     I am the Plaintiff in the above titled and numbered cause.
                    3.     I have never been convicted of a felony or a crime of moral turpitude.
                    4.     On the evening of Friday, March 3rd, 2023, I was a member of Food
             Not Bombs Houston (FNBH) and I went to the Central Houston Public Library Plaza
             in downtown Houston to meet up with other FNBH members to share high-quality
             vegetarian and vegan food with some of the City of Houston’s citizens who are
             experiencing poverty or homelessness which I had been doing since October 2011.
             Our usual schedule was Monday, Wednesday, Friday, and Sunday at around 7:30
             PM.
                    5.     I grew up in a devout Catholic family, where I regularly attended and
             participated in church services, including as an altar boy, and I attended Catholic
             school all the way through his secondary education, after which I ultimately attended
             the Catholic University of St. Thomas Houston.
                    6.     Due to my devout upbringing and education, the values and ethos of the
             Catholic faith are deeply ingrained in who I am as a person and helps to guide my
             actions and decisions.
                    7.     The Bible contains numerous passages which extoll the virtues of
             sharing food and resources with the hungry and poor, including this small sample of
             passages from the New Revised Standard Version Catholic Edition:
                    Psalm 146 vv. 5, 7 – Happy are those . . . who execute[] justice for the
                    oppressed; who give[] food to the hungry.
                    Tobit 1:16–17 – In the days of Shalmaneser I performed many acts of
                    charity to my kindred, those of my tribe. I would give my food to the
                    hungry and my clothing to the naked.
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DocuSign Envelope ID: 84B03001-A98F-47F2-8BF6-028C08436A41
               Case
                 Case
                    4:24-cv-00338
                      4:23-cv-01206 Document
                                     Document44-33
                                              27-1 Filed
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                                                          on01/08/24
                                                             03/28/25ininTXSD
                                                                          TXSD Page
                                                                                 Page
                                                                                    2 of
                                                                                      3 of
                                                                                         5 6




                     Tobit 4:15–16 – And what you hate, do not do to anyone. Do not drink
                     wine to excess or let drunkenness go with you on your way. Give some
                     of your food to the hungry, and some of your clothing to the naked.
                     Give all your surplus as alms, and do not let your eye begrudge your
                     giving of alms.
                     Proverbs 25:21 –If your enemies are hungry, give them bread to eat;
                     and if they are thirsty, give them water to drink.
                     Isaiah 58:10–11 – if you offer your food to the hungry and satisfy the
                     needs of the afflicted, then your light shall rise in the darkness and your
                     gloom be like the noonday. The LORD will guide you continually, and
                     satisfy your needs in parched places, and make your bones strong; and
                     you shall be like a watered garden, like a spring of water, whose waters
                     never fail.
                     Ezekiel 18:15–17 – Who does not . . . wrong anyone, exacts no pledge,
                     commits no robbery, but gives his bread to the hungry and covers the
                     naked with garment, withholds his hand from iniquity . . . he shall surely
                     live.
                     Matthew 25:34–36 – Then the king will say to those at his right hand,
                     “Come, you that are blessed by my Father, inherit the kingdom prepared
                     for you from the foundation of the world; for I was hungry and you
                     gave me food, I was thirsty and you gave me something to drink, I was
                     a stranger and you welcomed me, I was naked and you gave me
                     clothing, I was sick and you took care of me, I was in prison and you
                     visited me.”
                     Romans 12:19–21 – Beloved, never avenge yourselves . . . for it is
                     written . . . “if your enemies are hungry, feed them; if they are thirsty,
                     give them something to drink. . . .” Do not be overcome by evil, but
                     overcome evil with good.
                     8.     I also share food with more than five homeless and less fortunate people
             at a time in many places in North Houston and Spring Branch at many different times
             of the day on any day of the week including at between noon and five o’clock since
             2016. My religious beliefs move me to share food whenever I see the need not only
             at specific times and places. One might say as the spirit moves me.
                     9.     My sharing of food at the library and at other places and times
             throughout Houston is an expression of my religion.
                     10. FNBH is a collection of anti-poverty, anti-food waste, and anti-war
             volunteers that recover high-quality vegetarian and vegan food, and share that food
             with those experiencing poverty and homelessness; their stated agreements and
             vision are as follows:


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DocuSign Envelope ID: 84B03001-A98F-47F2-8BF6-028C08436A41
               Case
                 Case
                    4:24-cv-00338
                      4:23-cv-01206 Document
                                     Document44-33
                                              27-1 Filed
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                                                          on01/08/24
                                                             03/28/25ininTXSD
                                                                          TXSD Page
                                                                                 Page
                                                                                    3 of
                                                                                      4 of
                                                                                         5 6




                     We, participants in Food Not Bombs Houston (FNBH), agree;
                     1. to use sharing of free food, exchange of information, and dialogue as
                     a means of promoting social justice, cultural exchange, horizontal
                     organizing, and mutual aid
                     2. not to use or tolerate sexual, racial, or any other form of harassment,
                     authoritarianism, assault, or threat thereof in conjunction with FNBH
                     3. to bring only vegan (containing no animal products) or ovo-lacto
                     freegan (may contain dairy or egg, but obtained for free) food that is
                     safe for consumption, and to indicate any non-vegan ingredients
                     4. to respect each other’s privacy and views, to try to contribute
                     constructively to the group, and to refrain from disparaging the
                     contributions of others
                     5. not to sell food or otherwise profit from any kind of donations given
                     to FNBH
                     6. not to represent our personal viewpoints as viewpoints of FNBH, or
                     make decisions on behalf of FNBH
                     7. to establish a group decision before: inviting the media to FNBH
                     sharings, giving interviews as a FNBH volunteer, giving the media
                     names or any other information about those coming to share or eat
                     (everyone can choose whether or not to speak for themselves)
                     8. to act in a friendly and calm manner when police visit FNB, and to
                     explain to officers that we are just trying to help people
                     9. to encourage each other to call for a circle at any meal sharing to
                     make proposals, work on group decisions, or raise concerns, including
                     those about individuals not respecting these agreements
                     Vision
                     If we were to spend the amount of money we spend on weaponry on
                     feeding the homeless. We could eliminate the homeless problem the
                     world over. Poverty is a form of violence. We often assume that poverty
                     is inevitable for some people, but with the surplus of food in this
                     country alone, no one should have to go hungry. Poverty is, instead, a
                     way of maintaining the status quo in a society. If everyone had equal
                     access to the necessities of life, as well as equal opportunity to
                     education, work, etc., some very powerful people would suddenly find
                     themselves with a little bit less due to the fact that they no longer control
                     such a large piece of the economic pie. As an organization, Food Not
                     Bombs simply tries to redistribute a tiny portion of the wealth (in this
                     case, food) that so many seem to not want to give up. The name “Food
                     Not Bombs” means just that. With so many people at home and abroad
                     going hungry, and so much of our wealth controlled by so few, and
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DocuSign Envelope ID: 84B03001-A98F-47F2-8BF6-028C08436A41
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                      4:24-cv-00338
                        4:23-cv-01206 Document
                                       Document44-33
                                                27-1 Filed
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                                                            on01/08/24
                                                               03/28/25ininTXSD
                                                                            TXSD Page
                                                                                   Page
                                                                                      4 of
                                                                                        5 of
                                                                                           5 6




                     going towards such terrible things as weaponry, it’s insane to assume
                     that we can’t redistribute some of that wealth to those who need it.
                     International Food Not Bombs Mission Statement
                     Food Not Bombs recovers and shares free vegan or vegetarian food
                     with the public without restriction in over 1,000 cities around the world
                     to protest war, poverty and the destruction of the environment. Each
                     group is independent and invites everyone to participate in making
                     decisions for their local chapter using the consensus process. Food Not
                     Bombs is dedicated to taking nonviolent direct action to change society
                     so no one is forced to stand in line to eat at a soup kitchen expressing a
                     commitment to the fact that food is a right and not a privilege. With
                     over a billion people going hungry each day how can we spend another
                     dollar on war?1

                    11. I agree with the agreements and vision in paragraph 10.
                    12. My food sharing at the library and elsewhere at any day or time of the
             week is an expression of the agreements and vision in paragraph 10.
                    13. Despite the Anti-Food Sharing ordinance being in effect for around 10
             years and despite I had been sharing food with more than five people outside in
             Houston for many years and despite coming in contact with many Houston police
             when feeding I never received a ticket for feeding until the evening of Friday, March
             3rd, 2023, when HPD Officer Ancira issued me a ticket for violating Houston’s Anti-
             Food Sharing Law. The only other ticket I am aware of was when FNBH member
             Benjamin Craft-Rendon received a ticket on March 1, 2023, as I was present. This
             was the first ticket any FNBH member had received at the library.
                    14. In all the years I shared food not one single person ever complained
             they got sick from the food we shared nor did I hear of anyone getting sick.
                    15. When I received the ticket it was my understanding I was subjected to
             a maximum fine of $2000.00.
                    16. After receiving the ticket it made me very anxious and concerned and
             caused me to not show up for two weeks at the library. I also limited the amount of
             times I would feed elsewhere due to fear of getting another ticket or arrested. It is
             my understanding in Texas you can be arrested for Class C misdemeanors. It still
             makes me anxious and nervous when I go out and feed the homeless.
                    17. I was required to show up in a Houston municipal court twice for resets
             and then for a trial.


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              This statement was retrieved on March 29th, 2023, and can be found at FNBH’s website:
             https://houstonfoodnotbombs.org/about/.

                                                                   4
DocuSign Envelope ID: 84B03001-A98F-47F2-8BF6-028C08436A41
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                 Case
                    4:24-cv-00338
                      4:23-cv-01206 Document
                                     Document44-33
                                              27-1 Filed
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                                                             03/28/25ininTXSD
                                                                          TXSD Page
                                                                                 Page
                                                                                    5 of
                                                                                      6 of
                                                                                         5 6




                    18. After I was ticketed the Houston police have continued handing out
             tickets every week.
                    19. The people with whom I and FNBH share food are experiencing
             poverty or homelessness, there are numerous food banks, charities, and shelters from
             which those individuals can, and often do, acquire food; their decision to share food
             with FNBH is driven by preference.
                    20. The Anti-Food-Sharing law was passed in July 2012 when Annise
             Parker was mayor. Shortly after this ordinance was passed, however, Mayor Parker
             provided an additional policy clarification “Mayor Annise Parker has designated the
             Central Houston Public Library Plaza, 500 McKinney, Houston 77002, as an
             approved charitable food service location for Food Not Bombs.”
                    21. The FNBH food sharing events in which I participated in have been
             orderly, and any potential conflicts were identified an de-escalated by the
             participating community and did not require police intervention; the event on March
             3, 2023, was no different.
                    22. Despite the clear and explicit permission by the Mayor, officers from
             the Houston Police Department (HPD) have regularly been present at FNBH food
             sharing events (including those that I attended) since the passage of the ordinance,
             although they had not previously given out tickets or made any arrests under the
             ordinance until the days leading up to my ticket on March 3rd, 2023, when I was
             sharing food alongside other FNBH volunteers, he did not direct or manage the
             sharing of food in any way from an operational perspective, nor did he direct,
             manage, lead, or otherwise command any of the other volunteers or their actions.
                    23. I declare, certify, verify, and state under penalty of perjury under the
             laws of the United States of America that the foregoing is true and correct.

             DATE:




                     1/8/2024
             _______________________, 2024                   ____________________________________
                                                             PHILLIP PICONE, declarant




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